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                                             CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                          Before the Honorable Steven C. Yarbrough
                                                Preliminary/Detention - VSR
Case Number:                15-CR-4086 JCH                        UNITED STATES vs. FIERRO

Hearing Date:               8/21/2019                             Time In and Out:          9:56 am – 10:31 am

Courtroom Deputy:           K. Dapson                             Courtroom:                Rio Grande

Defendant:                  John Fierro                           Defendant’s Counsel:      Joe M. Romero, Jr.

AUSA:                       Niki Tapia-Brito                      Pretrial/Probation:       D. Rhodes
Interpreter:                                                      Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☐     Defendant
☐     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
☐
Custody Status
☐     Defendant

                                                                  To the halfway house; deft held in custody of USMS pending
☒     Conditions of release imposed
                                                                  space availablity
Other
☐     Matter referred to    for Final Revocation Hearing
☒     USA-direct of PO; Romero-cross of PO; USA-redirect of PO; USA-proffers; Romero-proffers; Court-findings
